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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TRISHA TSHUDY,                                            CIVIL ACTION
                        Plaintiff,

                v.

 PENNSYLVANIA STATE UNIVERSITY,                            NO. 22-3336
               Defendant.
                            ORDER

       AND NOW, this 1st day of September, 2022, IT IS ORDERED that the parties are

referred to Magistrate Judge Richard Lloret for a settlement conference. On or before

September 2, 2022, counsel for the parties shall contact United States Magistrate Judge Richard

Lloret to schedule a settlement conference.

                                                   BY THE COURT:




                                                   /s/ Wendy Beetlestone
                                                   _______________________________
                                                   WENDY BEETLESTONE, J.
